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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                            ORLANDO DIVISION


IN RE: PROCEDURES FOR                                   Case No. 6:21-mc-33-Orl-LHP
DISCOVERY MOTIONS


                       ORDER ON DISCOVERY MOTIONS

      In an effort “to secure the just, speedy, and inexpensive determination” of

this action, Fed. R. Civ. P. 1, it is ORDERED as follows:

      (1)   If a discovery dispute arises, the litigants must confer in person or via
telephone in a good faith effort to resolve the dispute before seeking court
intervention. See Local Rule 3.01(g).

       (2)   If the good-faith conferral does not resolve the discovery dispute, a
litigant may seek court intervention, but must do so by filing a Short-Form
Discovery Motion in compliance with this Order. Neither the Motion nor any
response thereto shall exceed 500 words, exclusive of caption, signature block,
and certifications.

      (3)  The Movant must attach any discovery requests and discovery
responses.

       (4)  If time-sensitive, the Motion must be filed and captioned as “Time-
Sensitive.”

       (5)   Any litigant opposing the Motion shall file a response no later than
five days after the Motion is filed (see Fed. R. Civ. P. 6(a)); a failure to file a timely
response will result in the Motion being deemed unopposed.

       (6)  To resolve the dispute, the Court may: decide the dispute on the basis
of the Motion and any response, set a hearing, or order further briefing.

      (7)    In the Motion or response, a litigant may request additional briefing,
but such a request must accompany, and not replace, the substantive argument.
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     (8)   The litigants must continue to confer concerning the dispute and must
promptly notify the Court if they resolve the Motion in whole or in part.

      (9)   If a hearing is set, the litigants shall file a joint notice two days
before the hearing certifying ongoing conferral and stating which issues, if any,
have been resolved.

      The Court expects all parties to act courteously and professionally in the

resolution of their discovery disputes. The Court may impose appropriate

sanctions upon a finding of failure to comply with this Order or upon a finding of

other discovery misconduct.

      DONE and ORDERED in Orlando, Florida on February 7, 2022.




Copies furnished to:

Counsel of Record
Unrepresented Parties




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